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                             6   a Hong Kong company
                             7                              UNITED STATES DISTRICT COURT
                             8                             CENTRAL DISTRICT OF CALIFORNIA
                             9

                       10         GLOBAL HOUSE BUYER LIMITED,                     Case No.
                       11
                                  a Hong Kong company; in its                     Assigned for all purposes to:
                                  individual capacity and as the assignee         Judge:
                       12
                                  of Yu Jianghao and as assignee of               Dept.
                                  Zhang Lifang;
                       13
                                                                                  COMPLAINT FOR BREACH OF
                                             Plaintiffs,                          CONTRACT AND FRAUD
                       14         vs.
                       15        JAMES DANIEL CLARK, an
                       16
                                 individual; AMERICAN IMPACT
                                 ENERGY I LLC, a Nevada limited
                       17
                                 liability company, AMERICAN
                                 IMPACT ENERGY LLC, a Nevada
                       18
                                 limited liability company, and DOES 1-
                                 10.
                       19                Defendants.
                       20

                       21        Plaintiff GLOBAL HOUSEBUYER, LTD., a Hong Kong company (“Global”), in
                       22        its individual capacity and as the assignee of Yu Jianghao (“Yu”) and as assignee
                       23        of Zhang Lifang (“Zhang”) (“Plaintiff”), alleges as follows:
                       24                                     JURISDICTION AND VENUE
                       25               1.       This action is brought under the diversity jurisdiction of this Court,
                       26        pursuant to 28 U.S.C. §1332(a)(2). The matter in controversy exceeds the sum or
                       27        value of $75,000, exclusive of interest and costs, and the action is between a
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                             1   subject of a foreign state and citizens of different states. Plaintiff is a subject of the
                             2   People’s Republic of China. Defendants are citizens of California and Nevada.
                             3         2.     Venue is proper in this Court, pursuant to 28 U.S.C. §1391(a),
                             4   because it is a judicial district in which Defendant James Daniel Clark resides and
                             5   is subject to the Court’s personal jurisdiction with respect to such action, and/or in
                             6   which a substantial portion of the events or omissions giving rise to the claim
                             7   occurred.
                             8                                          PARTIES
                             9         3.     GLOBAL HOUSE BUYER LIMITED (“Global”), is and at all
                       10        relevant times was, a limited Chinese private company, organized and existing
                       11        under the Laws of Hong Kong, Peoples Republic of China (P.R.C.), with its
                       12        principal place of business located in Kowloon, Hong Kong, P.R.C. Global is also
                       13        the assignee of all right, title and interest in certain “Well Bore Assignments,” a
                       14        certain Subscription Agreement and all claims owned by Yu Jianghao (“YU”)
                       15        against Defendants related to the subject matter of this action. Global is also the
                       16        assignee of all right, title and interest in certain “Well Bore Assignments,” a certain
                       17        Subscription Agreement and all claims owned by Zhang Lifang (“ZHANG”)
                       18        against Defendants related to the subject matter of this action.
                       19              4.     On information and belief, Defendant American Impact Energy 1,
                       20        LLC (“AIE-1") was a limited liability company organized under the laws of the
                       21        State of Nevada, with its principal place in Phoenix, Arizona, which is currently
                       22        listed by Nevada’s Secretary of State as in default.
                       23              5.     On information and belief, Defendant American Impact Energy, LLC
                       24        (“AIE”) is a Nevada limited liability company with its principal place of business
                       25        in Phoenix, Arizona, which is currently listed by Nevada’s Secretary of State as in
                       26        default. AIE is the Manager of AIE-1.
                       27

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                             1         6.     On information and belief, Defendant James Daniel Clark (“Clark”)
                             2   is, at the time of filing this action, a resident of West Hollywood, California, who
                             3   previously resided in Phoenix, Arizona. At all relevant times, Clark held himself
                             4   out as a Manager or officer or member of AIE and AIE-1.
                             5         7.     On information and belief, there exists, and at all times herein
                             6   mentioned there existed, a unity of interest and ownership between Defendant
                             7   Clark and Defendants AIE and AIE-1, and Does 1 through 10, inclusive, such that
                             8   any individuality and separateness between Clark and AIE and AIE-1 and Does 1
                             9   through 10, inclusive, have ceased to exist, and Defendant Clark is the alter ego of
                       10        Defendants AIE and AIE-1 in that AIE and AIE-1 are, and at all times herein
                       11        mentioned were, mere shells, instrumentalities and conduits through which
                       12        Defendant Clark carried on his business and were so inadequately capitalized that,
                       13        compared with the business to be done by AIE and AIE-1 and the risks of loss,
                       14        their capitalization was illusory. Furthermore, Clark completely controlled,
                       15        dominated, managed, and operated both AIE and AIE-1 and intermingled the
                       16        assets of each to suit the convenience of Clark ant to evade payment of the
                       17        obligations owed to creditors of AIE and AIE-1.
                       18              8.     Adherence to the fiction of the separate existence of Defendants AIE,
                       19        AIE-1 and Defendant Clark and Does 1 through 10, inclusive, would permit an
                       20        abuse of the corporate privilege and would sanction fraud and promote injustice in
                       21        that Clark has perpetrated fraudulent acts in the names of AIE and AIE-1 and never
                       22        taken the steps to maintain the corporate standing of AIE and AIE-1.
                       23              9.     The true names and capacities, whether individual, corporate, or
                       24        otherwise, of Defendants DOES 1 through 10, inclusive, are unknown to Plaintiff
                       25        at this time, and therefore, Plaintiff sues said Defendants by such fictitious names.
                       26        Plaintiff is informed and believe, and thereon allege, that each of the Defendants
                       27        designated herein as a fictitiously named Defendant is, in some manner,
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                             1   responsible for the events and happenings referred to herein, either contractually or
                             2   tortiously. Plaintiff will amend this Complaint to show their true names and
                             3   capacities when the same have been ascertained.
                             4         10.      Plaintiff is informed and believes and thereon alleges that at all times
                             5   herein mentioned each of the Defendants sued herein other than Defendant Clark
                             6   was the partner, agent and/or employee of each of the remaining Defendants, and
                             7   was at all times acting within the purpose and scope of such partnership, agency
                             8   and employment.
                             9                          FACTS COMMON TO ALL CLAIMS
                       10              11.      Commencing in our about the fall of 2014, Clark solicited Global to
                       11        become the agent of AIE and AIE-1 for the purpose of locating “first-time”
                       12        Chinese investors to invest in oil properties in Texas. Clark represented that the
                       13        company he was establishing (variously known as AIE and AIE-1) would invest in
                       14        a mature oilfield, with stable production output, and offer investments (later
                       15        believed to be in the form of convertible debentures denominated “debt units”) in
                       16        minimum increments of $100,000, which would yield an annualized rate of return
                       17        of 10 to 15 per cent, depending on the market price of crude oil. Clark represented
                       18        that the investors would have direct ownership of the oil wells included in the
                       19        properties.
                       20               12.     In December 2014, Global was persuaded to act as the agent of AIE
                       21        and AIE-1 and it arranged for Clark to make presentations to Chinese investors in
                       22        China. Clark prepared presentation slides in English which were translated into
                       23        Chinese by Global’s employees. The presentations described a 50/50 partnership
                       24        between Chinese Investors and U.S. Partners. The U.S. Partners were, inter alia, to
                       25        provide the oil field (with permits to exploit the mineral rights) and equipment, and
                       26        were to be responsible for production, equipment, storage and sale of crude oil,
                       27        management of legal procedures and government documents, and providing
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                             1   monthly reports regarding production, sale and costs. The Chinese investors were
                             2   to be permitted to appoint one director and the CFO, and (according to the
                             3   presentation) “can directly own the oil wells. Will be registered with the state
                             4   government.”
                             5          13.    The presentation sought an investment of 4.3 million U.S. Dollars and
                             6   forecast an annualized rate of return of 12%, which would exceed 20% if the price
                             7   of crude reached $70 per barrel. The presentation further provided that, “If the oil
                             8   price descends lower than $50/barrel, the U.S. Partners are willing to contribute
                             9   their own income, to guarantee that the return for the investors will not be lower
                       10        than 10%.”
                       11               14.    Clark, AIE and AIE-1 caused a Subscription Agreement to be
                       12        prepared, which they provided to Global for use in soliciting Chinese investors.
                       13        The original form of subscription agreement was vague and ambiguous, but was
                       14        supplemented by a revised form of subscription agreement which better expressed
                       15        its terms.
                       16               15.    On February 10, 2015, Yu executed a form of Subscription
                       17        Agreement with AIE and paid $100,000.00 for one “15% Convertible Company
                       18        Unit (36 month Subscription)” which meant a Convertible Debenture yielding
                       19        interest of 15% per annum with a balloon payment of principal in the amount of
                       20        $100,000 due at the end of the three-year period, unless the investment was rolled
                       21        over (the “Yu Subscription Agreement”). The Yu Subscription Agreement
                       22        contemplated that the investor could withdraw the funds invested on 45 days’ prior
                       23        notice but would be required to pay a 2% fee for early withdrawal of funds. A true
                       24        and correct copy of the Yu Subscription Agreement is attached hereto as Exhibit A
                       25        and incorporated herein by reference.
                       26               16.    On March 19, 2015, Zhang executed a form of Subscription
                       27        Agreement with AIE and paid $100,000.00 for one “15% Convertible Company
                       28                                          5
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                             1   Unit (36 month Subscription)” which meant a Convertible Debenture yielding
                             2   interest of 15% per annum with a balloon payment of principal in the amount of
                             3   $100,000 due at the end of the three-year period, unless the investment was rolled
                             4   over (“the Zhang Subscription Agreement”). The Zhang Subscription Agreement
                             5   contemplated that the investor could withdraw the funds invested on 45 days’ prior
                             6   notice but would be required to pay a 2% fee for early withdrawal of funds. A true
                             7   and correct copy of the Zhang Subscription Agreement is attached hereto as
                             8   Exhibit B and incorporated herein by reference.
                             9         17      Both the Yu Subscription Agreement and the Zhang Subscription
                       10        Agreement provide that “The subscriber will get the title of the Wells after the
                       11        subscription is made.”
                       12               18.    On March 5, 2015, Defendant AIE-1 provided Yu with six “Well
                       13        Bore Assignments” which purportedly assigned to Yu AIE-1's undivided 1.25%
                       14        interest in six specified oil wells located in Crockett County, Texas. The six
                       15        assignments purportedly had been recorded in the Official Records of Crockett
                       16        County, Texas, and listed document numbers, volume and page numbers showing
                       17        the purported recording of those assignments. The March 5, 2015 set of Well
                       18        Bore Assignments was fraudulent, bearing the document numbers, volume and
                       19        page numbers of entirely unrelated documents in the Official Records of Crockett
                       20        County, Texas. Subsequently, on March 20, 2015, AIE-1 provided Global with six
                       21        new “Well Bore Assignments” which assigned to Yu AIE-1's undivided 1.25%
                       22        interest in the same six specified oil wells located in Crockett County, Texas,
                       23        which were effective February 19, 2015, and which were in fact recorded on
                       24        March 20, 2015 in the Official Records of Crockett County, Texas.
                       25              19.     On May 5, 2015, Defendant AIE-1 provided Zhang with six “Well
                       26        Bore Assignments” which purportedly assigned to Zhang AIE-1's undivided 1.25%
                       27        interest in the same six specified oil wells located in Crockett County, Texas, as
                       28                                          6
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                             1   were previously assigned to Yu. The six assignments to Zhang purportedly had
                             2   been recorded in the Official Records of Crockett County, Texas, and listed
                             3   document numbers, volume and page numbers showing the purported recording of
                             4   those assignments. The May 5, 2015 set of Well Bore Assignments was
                             5   fraudulent, bearing the document numbers, volume and page numbers of entirely
                             6   unrelated documents in the Official Records of Crockett County, Texas. No
                             7   legitimate recorded assignments were ever provided to Zhang.
                             8         20.    For a period of time in 2015, Defendants made interest payments to
                             9   Yu and Zhang in accordance with the terms of the Yu and Zhang Subscription
                       10        Agreements. However, after March 1, 2016, any and all interest payments by AIE
                       11        and/or AIE-1 ceased. Both Yu and Zhang promptly demanded the return of their
                       12        respective $100,000 investments. Defendants did not return those investments.
                       13              21.    Yu and Zhang then demanded of Global that it return the funds they
                       14        had invested in AIE and AIE-1. Global returned the investments.
                       15              22.    On August 5, 2016, Yu assigned to Global all of Yu’s rights, title and
                       16        interests in the Yu Subscription Agreement and the March 5 and March 20 Well
                       17        Bore Assignments and all claims against AIE, AIE-1 and Clark.
                       18              23.    On August 5, 2016, Zhang assigned to Global all of Zhang’s rights,
                       19        title and interests in the Zhang Subscription Agreement and in the fraudulent May
                       20        5 Well Bore Assignments and all claims against AIE, AIE-1 and Clark.
                       21                        FIRST CLAIM FOR BREACH OF CONTRACT
                       22                                      (Against All Defendants)
                       23              24.     Plaintiff realleges each of the allegations set forth above in
                       24        Paragraphs 1-23, inclusive, as though set forth in full.
                       25              25.    On or about February 10, 2015, Yu and AIE entered into the written
                       26        Yu Subscription Agreement attached as Exhibit A. On August 5, 2016, Yu
                       27        assigned to Global all of its rights, title and interest in the Yu Subscription and all
                       28                                         7
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                             1   claims against AIE, AIE-1 and Clark.
                             2         26.     On or about March 19, 2015, Zhang and AIE entered into the written
                             3   Zhang Subscription Agreement attached as Exhibit B. On August 5, 2016, Zhang
                             4   assigned to Global all of its rights, title and interest in the Zhang Subscription
                             5   Agreement and all claims against AIE, AIE-1 and Clark.
                             6         27.     Yu performed all conditions, covenants and promises required to be
                             7   performed on his part in accordance with the terms of the Yu Subscription
                             8   Agreement. In particular, Yu paid AIE, AIE-1 and/or Clark the sum of $100,000
                             9   for his convertible debentures/debt units.
                       10              28.     Zhang performed all conditions, covenants and promises required to
                       11        be performed on her part in accordance with the terms of the Zhang Subscription
                       12        Agreement. In particular, Zhang paid AIE, AIE-1 and/or Clark the sum of
                       13        $100,000 for her convertible debentures/debt units.
                       14              29.     Defendants have failed and refused, and continue to fail and refuse, to
                       15        perform the conditions of the Yu Subscription Agreement or the Zhang
                       16        Subscription Agreement on their part to be performed. In particular, Defendants
                       17        have failed to make all quarterly interest payments as required and have failed to
                       18        return the principal upon the respective demands of Yu and Zhang.
                       19              30.     Yu was damaged by reason of Defendants’ breach of the Yu
                       20        Subscription Agreement. Yu was never paid the interest payments for the period
                       21        after 3-1-2016 and was entitled to receive $1250 per month of interest which as of
                       22        October 10, 2016 is the sum of $8750 as additional interest payments and
                       23        increasing monthly for the three year subscription period or $30,000 total. In
                       24        addition, Yu never received the return of his $100,000 investment as provided for
                       25        under the Yu Subscription Agreement.
                       26               31.    Zhang was damaged by reason of Defendants’ breach of the Zhang
                       27        Subscription Agreement. Zhang was paid the interest payments through 12-31-15
                       28                                          8
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                             1   which on information and belief was approximately $11,250 and was and is
                             2   entitled to receive the sum of $33,750 as additional interest payments. In addition,
                             3   Zhang never received the return of her $100,000 investment as provided for under
                             4   the Zhang Subscription Agreement. Further, Zhang never received title to the
                             5   wells which he had been promised but instead received only fraudulent title
                             6   documents purporting to show recorded assignments from AIE-1 of interests in
                             7   those wells.
                             8         32.      As their assignee, Global stands in the shoes of Yu and Zhang and is
                             9   entitled to all the sums that the assignors were entitled to.
                       10                                  SECOND CLAIM FOR FRAUD
                       11                                       (Against All Defendants)
                       12              33.      Plaintiff realleges each of the allegations set forth above in Paragraphs
                       13        1-23, and 25-32, inclusive, as though set forth in full.
                       14              34.      The representations made by the Defendants to Yu and Zhang were
                       15        false, and were made with knowledge of their falsity or with reckless disregard of
                       16        their truth. Defendants falsely represented that Yu and Zhang would have
                       17        guaranteed annual returns of 15% interest, but Defendants knew they lacked the
                       18        means to make those interest payments. Defendants falsely represented that they
                       19        would deliver title to the oil wells after the subscriptions were made, but delivered
                       20        fraudulent title documents to both Yu and Zhang, before providing legitimate title
                       21        documents to Yu but never providing legitimate title documents to Zhang. In
                       22        addition Defendants made promises to Yu and Zhang which they had no intention
                       23        of performing when they made the promises, namely the promises to make interest
                       24        payments quarterly, the promise to provide title documents and the promise to
                       25        return the principal on demand. Defendants also concealed the fact that the title
                       26        documents originally delivered to Yu and the only title documents delivered to
                       27        Zhang were fraudulent.
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                             1         35.     Defendants intended to deceive Yu and Zhang and Global when they
                             2   made the misrepresentations and false promises and provided fraudulent title
                             3   documents.
                             4         36.     Defendants intended that Yu and Zhang and Global rely on their
                             5   misrepresentations, false promises and fraudulent title documents.
                             6          37.    Yu and Zhang and Global reasonably relied on those
                             7   misrepresentations, false promises and fraudulent title documents. Global
                             8   reimbursed Yu and Zhang for their losses because Global had been induced by
                             9   Defendants’ misrepresentations to locate investors and the investors had relied on
                       10        Global’s reputation for honesty in making those investments.
                       11              38.     Yu and Zhang and Global were harmed by reason of their reliance on
                       12        Defendants’ misrepresentations, false promises and fraudulent title documents,
                       13        which was the proximate cause of their harm.
                       14              39.     Defendants acted with malice, oppression or fraudulent intent in
                       15        making the false representations, providing fraudulent title documents and making
                       16        promises without intent to perform. Because Defendants are guilty of oppression,
                       17        fraud and/or malice, Plaintiff is entitled to recover, in addition to its actual
                       18        damages, exemplary or punitive damages.
                       19              WHEREFORE Plaintiff prays for judgment against Clark, AIE, AIE-1 and
                       20        DOES 1 through 10, inclusive, as follows:
                       21              On the First Cause of Action for Breach of Contract:
                       22              1.      For money damages consisting of lost interest and return of
                       23        investments in the sum of $200,000 +.
                       24              2.      For prejudgment interest at the legal rate;
                       25              3.      For costs of suit.
                       26              On the Second Cause of Action for Fraud:
                       27              4.      For recovery of all sums paid to Defendants by Zhang;
                       28                                         10
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                             1         5.    For recovery of the difference between the fair market value of what
                             2   Yu paid for the well bore assignments and the value of what Yu received;
                             3         6.    For all amounts that Global reasonably spent in reliance on
                             4         Defendants’ false representations, submission of fraudulent title documents
                             5   and false promises;
                             6         7.    For punitive damages; and
                             7         8.    For such other and further relief as the Court may deem just and
                             8   proper.
                             9

                       10

                       11                                                    Respectfully Submitted,
                       12        Dated:      September 27, 2016              ARDENT LAW GROUP, P.C.
                       13

                       14                                             By:    /s/ Hubert H. Kuo
                                                                             Hubert H. Kuo
                       15                                                    Jeffrey Gwynn
                       16                                                    Attorneys for Plaintiff Global
                                                                             Housebuyer Ltd., a Hong Kong
                       17                                                    Company
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